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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT CLERIC US. DISTRICT couRT
for the , NORTH DISTRICT OF CALIFORNIA x
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(to be filled in by the Clerk’s Office)

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Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

CRY of San Rafael,
Lynn MurPhy Cofl Hobo

Jury Trial: (check how No
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42 USC 143) 42 VSe 1¢4PH 18 USC BI

 

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known-to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)
I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed.
Name James Heilard
snaddines fo Box ps04oS
Sart Rafael CA arto |
City State Zip Code
County MMA
Telephone Number 629 - 8383-4 °73
E-Mail Address Tymes Helasrd @ Yahoo, Co)
B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

Name Cc ity OF San Rafael
Job or Title (if known) mun, ¢ (Pac Cor Pel ayion
Address | u 60 FIé th stvre er
San Rafael CA augo|
City State Zip Code
County Mar [A
Telephone Number

 

E-Mail Address (if known)

 

[| Individual capacity [| Official capacity

Defendant No. 2

Name LY? Nn Mar Ph YF

 

 

 

 

 

Job or Title (if known) H Ome (é $5 Lia CON OLE EC of
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San ‘Rat age CA AY O|
City State Zip Code
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Telephone Number

 

E-Mail Address (if known)

 

v4 Individual capacity v] Official capacity

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Il.

Defendant No. 3

Name Cot | H A bes

 

 

 

 

 

Job or Title (if known) San Rafael Peli€e § C9 Lop.
Address \Woo ftiath Stree?
SAN Rafael CA _a4qo
City State Zip Code
County Mas (0
Telephone Number a

 

E-Mail Address (if known)

 

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Defendant No. 4 i Caritornin Deir tmrenr of The Gls, f 4 FOPFID)
Name C A L TTA ‘a S

 

 

 

 

 

Job or Title (if known) Stat é A 9 er C Y it owe” OF COCan Pmeny
Address Hl Gra6 ol AV2Z : 7
QaKlLdng CA_ AFHZ
City State Zip Code
County A Laredo
Telephone Number 7

 

E-Mail Address (if known)

 

[] Individual capacity [| Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

 

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Il.

 

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite

any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

San Rafael Hed h way nde Pass.
ErgNGS Co BLA and Vachy 'Clal Arve

B. What date and approximate time did the events giving rise to your claim(s) occur?

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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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V. Relief
State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

x A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: x ~ —72 2

 

Signature of Plaintiff
Printed Name of Plaintiff (fr iy

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

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